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UNITED STATES DISTRICT COURT FOR
THE SOUTHERN DISTRICT OF NEW YORK

YOVANNY DOMINGUEZ, for himself and
on behalf of all other persons similarly
situated,

                        Plaintiﬀ,

                                                          19 CV 11931
                   –against–


THE ISAMU NOGUCHI FOUNDATION,
INC.,

                        Defendant.

                   CLASS ACTION COMPLAINT AND JURY DEMAND

                                         INTRODUCTION

       1.       Plaintiff, YOVANNY DOMINGUEZ, on behalf of himself and others similarly

situated, asserts the following claims against Defendant THE ISAMU NOGUCHI

FOUNDATION, INC., as follows.

       2.       Plaintiff is a visually-impaired and legally blind person who requires screen-

reading software to read website content using his computer. Plaintiff uses the terms “blind” or

“visually-impaired” to refer to all people with visual impairments who meet the legal definition of

blindness in that they have a visual acuity with correction of less than or equal to 20 x 200. Some

blind people who meet their definition have limited vision. Others have no vision.

       3.       Based on a 2010 U.S. Census Bureau report, approximately 8.1 million people in

the United States are visually impaired, including 2.0 million who are blind, and according to the

American Foundation for the Blind’s 2015 report, approximately 400,000 visually impaired

persons live in the State of New York.




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        4.       Plaintiff brings his civil rights action against THE ISAMU NOGUCHI

FOUNDATION, INC., (“Defendant” or “COMPANY”), for its failure to design, construct,

maintain, and operate its website to be fully accessible to and independently usable by Plaintiff

and other blind or visually-impaired people. Defendant’s denial of full and equal access to its

website, and therefore denial of its products and services offered thereby and in conjunction with

its physical location, is a violation of Plaintiff’s rights under the Americans with Disabilities Act

(“ADA”).

        5.       Because Defendant’s website, http://www.noguchi.org “Website” or “Defendant’s

Website”), is not equally accessible to blind and visually-impaired consumers, it violates the ADA.

Plaintiff seeks a permanent injunction to cause a change in Defendant’s corporate policies,

practices, and procedures so that Defendant’s website will become and remain accessible to blind

and visually-impaired consumers.

                                  JURISDICTION AND VENUE

        6.       The Court has subject-matter jurisdiction over this action under 28 U.S.C. § 1331

and 42 U.S.C. § 12181, as Plaintiff’s claims arise under Title III of the ADA, 42 U.S.C. § 12181,

et seq., and 28 U.S.C. § 1332.

        7.       The Court has supplemental jurisdiction under 28 U.S.C. § 1367 over Plaintiff’s

New York State Human Rights Law, N.Y. Exec. Law Article 15, (“NYSHRL”) and New York

City Human Rights Law, N.Y.C. Admin. Code § 8-101 et seq., (“NYCHRL”) claims.

        8.       Venue is proper in this district under 28 U.S.C. §1391(b)(1) and (2) because

Defendant conducts and continues to conduct a substantial and significant amount of business in

this District, Defendant is subject to personal jurisdiction in this District, and a substantial portion

of the conduct complained of herein occurred in this District.




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       9.       Defendant is subject to personal jurisdiction in this District. Defendant has been

and is committing the acts or omissions alleged herein in the Southern District of New York that

caused injury and violated rights the ADA prescribes to Plaintiff and to other blind and other

visually impaired-consumers. A substantial part of the acts and omissions giving rise to Plaintiff’s

claims occurred in this District: on several separate occasions, Plaintiff has been denied the full

use and enjoyment of the facilities, goods, and services of Defendant’s physical location and/or

Website with respect to Defendant’s art gallery located in Queens County. These access barriers

that Plaintiff encountered have caused a denial of Plaintiff’s full and equal access multiple times

in the past, and now deter Plaintiff on a regular basis from visiting Defendant’s brick-and mortar

location. This includes, Plaintiff attempting to obtain information about Defendant’s art gallery

(location and hours and other important information) in Queens County.

       10.      The Court is empowered to issue a declaratory judgment under 28 U.S.C. §§ 2201

and 2202.

                                             PARTIES

       11.      Plaintiff, at all relevant times, is a resident of New York, New York. Plaintiff is a

blind, visually-impaired handicapped person and a member of member of a protected class of

individuals under the ADA, under 42 U.S.C. § 12102(1)-(2), and the regulations implementing the

ADA set forth at 28 CFR §§ 36.101 et seq., the NYSHRL and NYCHRL.

       12.      Defendant, is and was, at all relevant times herein, a Domestic Not For Profit

Corporation registered to do business in the State of New York with a principal place of business

located at 9-01 33rd Road, Long Island City, New York. Defendant operates its art gallery as well

as the Website and advertises, markets, and operates in the State of New York and throughout the




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United States. Defendant is, upon information and belief, licensed to do business and is doing

business in the State of New York.

       13.     Defendant’s art gallery operates as a place of public accommodation, as a sales

establishment and/or place of exhibition. Defendant’s art gallery provides to the public important

goods and services. Defendant’s Website provides consumers with access to an array of goods and

services including art gallery location and hours, information about artwork, events, art

descriptions, inquiring about pricing and other products available online and in the art gallery for

purchase, the Defendant’s privacy policies and other goods and services offered by the Defendant.

       14.     Defendant’s art gallery is a place of public accommodation within the definition of

Title III of the ADA, 42 U.S.C. § 12181(7). Defendant’s Website is a service, privilege, or

advantage of Defendant’s art gallery.

                                 NATURE OF ACTION

       15.     The Internet has become a significant source of information, a portal, and a tool for

conducting business, doing everyday activities such as shopping, learning, banking, researching,

as well as many other activities for sighted, blind and visually-impaired persons alike.

       16.     In today’s tech-savvy world, blind and visually-impaired people have the ability to

access websites using keyboards in conjunction with screen access software that vocalizes the

visual information found on a computer screen or displays the content on a refreshable Braille

display. Their technology is known as screen-reading software. Screen-reading software is

currently the only method a blind or visually-impaired person may independently access the

Internet. Unless websites are designed to be read by screen-reading software, blind and visually-

impaired persons are unable to fully access websites, and the information, products, and services

contained thereon.




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         17.   Blind and visually-impaired users of Windows operating system-enabled

computers and devices have several screen reading software programs available to them. Some of

these programs are available for purchase and other programs are available without the user having

to purchase the program separately. Job Access With Speech, otherwise known as “JAWS” is

currently the most popular, separately purchased and downloaded screen-reading software

program available for a Windows computer.

         18.   For screen-reading software to function, the information on a website must be

capable of being rendered into text. If the website content is not capable of being rendered into

text, the blind or visually-impaired user is unable to access the same content available to sighted

users.

         19.   The international website standards organization, the World Wide Web

Consortium, known throughout the world as W3C, has published version 2.0 of the Web Content

Accessibility Guidelines (“WCAG 2.0”). WCAG 2.0 are well-established guidelines for making

websites accessible to blind and visually-impaired people. These guidelines are universally

followed by most large business entities and government agencies to ensure their websites are

accessible.

         20.   Non-compliant websites pose common access barriers to blind and visually-

impaired persons. Common barriers encountered by blind and visually impaired persons include,

but are not limited to, the following:

               a.      A text equivalent for every non-text element is not provided;

               b.      Title frames with text are not provided for identification and navigation;

               c.      Equivalent text is not provided when using scripts;




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                  d.   Forms with the same information and functionality as for sighted persons

are not provided;

                  e.   Information about the meaning and structure of content is not conveyed by

more than the visual presentation of content;

                  f.   Text cannot be resized without assistive technology up to 200% without

losing content or functionality;

                  g.   If the content enforces a time limit, the user is not able to extend, adjust or

disable it;

                  h.   Web pages do not have titles that describe the topic or purpose;

                  i.   The purpose of each link cannot be determined from the link text alone or

from the link text and its programmatically determined link context;

                  j.   One or more keyboard operable user interface lacks a mode of operation

where the keyboard focus indicator is discernible;

                  k.   The default human language of each web page cannot be programmatically

determined;

                  l.   When a component receives focus, it may initiate a change in context;

                  m.   Changing the setting of a user interface component may automatically cause

a change of context where the user has not been advised before using the component;

                  n.   Labels or instructions are not provided when content requires user input,

which include captcha prompts that require the user to verify that he or he is not a robot;

                  o.   In content which is implemented by using markup languages, elements do

not have complete start and end tags, elements are not nested according to their specifications,

elements may contain duplicate attributes and/or any IDs are not unique;




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               p.     Inaccessible Portable Document Format (PDFs); and,

               q.     The name and role of all User Interface elements cannot be

programmatically determined; items that can be set by the user cannot be programmatically set;

and/or notification of changes to these items is not available to user agents, including assistive

technology.

                               STATEMENT OF FACTS

Defendant’s Barriers on Its Website

       21.     Defendant is an art gallery that operates its art gallery as well as the Website to the

public. The art gallery is located at 9-01 33rd Road, Long Island City, New York 11106.

Defendant’s art gallery constitutes a place of public accommodation. Defendant’s art gallery

provides to the public important goods and services. Defendant’s Website provides consumers

with access to an array of goods and services which allow consumers to find information about the

art gallery location and hours, information about artwork, events, art descriptions, inquire about

pricing and other products available online and in the art gallery for purchase and view privacy

policies and other goods and services offered by the Defendant.

       22.     It is, upon information and belief, Defendant’s policy and practice to deny Plaintiff,

along with other blind or visually-impaired users, access to Defendant’s Website, and to therefore

specifically deny the goods and services that are offered and integrated with Defendant’s art

gallery. Due to Defendant’s failure and refusal to remove access barriers to its Website, Plaintiff

and visually-impaired persons have been and are still being denied equal access to Defendant’s art

gallery and the numerous goods, services, and benefits offered to the public through the Website.

       23.     Plaintiff is a visually-impaired and legally blind person, who cannot use a computer

without the assistance of screen-reading software. Plaintiff is, however, a proficient JAWS screen-




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reader user and uses it to access the Internet. Plaintiff has visited the Website on separate occasions

using the JAWS screen-reader.

       24.     During Plaintiff’s visits to the Website, the last occurring on September 2, 2019,

Plaintiff encountered multiple access barriers that denied Plaintiff full and equal access to the

facilities, goods and services offered to the public and made available to the public; and that denied

Plaintiff the full enjoyment of the facilities, goods, and services of the Website, as well as to the

facilities, goods, and services of Defendant’s physical location in New York by being unable to

learn more information on the location and hours of the art gallery, information about artwork,

events, art descriptions, inquiries about pricing and other products available online and in the art

gallery for purchase and view privacy policies and other goods and services offered by Defendant.

       25.     While attempting to navigate the Website, Plaintiff encountered multiple

accessibility barriers for blind or visually-impaired people that include, but are not limited to, the

following:

               a.      Lack of Alternative Text (“alt-text”), or a text equivalent. Alt-text is an

invisible code embedded beneath a graphical image on a website. Web accessibility requires that

alt-text be coded with each picture so that screen-reading software can speak the alt-text where a

sighted user sees pictures, which includes captcha prompts. Alt-text does not change the visual

presentation, but instead a text box shows when the keyboard scrolls over the picture. The lack of

alt-text on these graphics prevents screen readers from accurately vocalizing a description of the

graphics. As a result, visually-impaired customers of the Defendant are unable to determine what

is on the Website, browse, look for information about the art gallery’s locations and hours of

operation, artwork, events, art descriptions, inquiries about pricing and other products available




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online and in the art gallery for purchase, view privacy policies and other goods and services

offered by the Defendant;

               b.      Empty Links That Contain No Text causing the function or purpose of the

link to not be presented to the user. They can introduce confusion for keyboard and screen-reader

users;

               c.      Redundant Links where adjacent links go to the same URL address which

results in additional navigation and repetition for keyboard and screen-reader users; and

               d.      Linked Images Missing Alt-text, which causes problems if an image within

a link contains no text and that image does not provide alt-text. A screen reader then has no content

to present the user as to the function of the link, including information contained in PDFs.

Defendant Must Remove Barriers To Its Website

         26.   Due to the inaccessibility of Defendant’s Website, blind and visually-impaired

customers such as Plaintiff, who need screen-readers, cannot fully and equally use or enjoy the

facilities, goods, and services Defendant offers to the public on its Website. The access barriers

Plaintiff encountered have caused a denial of Plaintiff’s full and equal access in the past, and now

deter Plaintiff on a regular basis from accessing the Website.

         27.   These access barriers on Defendant’s Website have deterred Plaintiff from visiting

Defendant’s physical location, and enjoying it equal to sighted individuals because Plaintiff was

unable to find the location and hours of operation of Defendant’s physical art gallery on its Website

and other important information, preventing Plaintiff from visiting the location to view and

purchase the artwork and to attend events.

         28.   If the Website was equally accessible to all, Plaintiff could independently navigate

the Website and complete a desired transaction as sighted individuals do.




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       29.     Through his attempts to use the Website, Plaintiff has actual knowledge of the

access barriers that make these services inaccessible and independently unusable by blind and

visually-impaired people.

       30.     Because simple compliance with the WCAG 2.0 Guidelines would provide Plaintiff

and other visually-impaired consumers with equal access to the Website, Plaintiff alleges that

Defendant has engaged in acts of intentional discrimination, including but not limited to the

following policies or practices:

               a.      Constructing and maintaining a website that is inaccessible to visually-

impaired individuals, including Plaintiff;

               b.      Failure to construct and maintain a website that is not sufficiently intuitive

so as to be equally accessible to visually-impaired individuals, including Plaintiff; and,

               c.      Failing to take actions to correct these access barriers in the face of

substantial harm and discrimination to blind and visually-impaired consumers, such as Plaintiff,

as a member of a protected class.

       31.     Defendant therefore uses standards, criteria or methods of administration that have

the effect of discriminating or perpetuating the discrimination of others, as alleged herein.

       32.     The ADA expressly contemplates the injunctive relief that Plaintiff seeks in this

action. In relevant part, the ADA requires:

       In the case of violations of . . . their title, injunctive relief shall include an order to alter

       facilities to make such facilities readily accessible to and usable by individuals with

       disabilities . . . Where appropriate, injunctive relief shall also include requiring the . . .

       modification of a policy . . .

42 U.S.C. § 12188(a)(2).




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       33.     Because Defendant’s Website has never been equally accessible, and because

Defendant lacks a corporate policy that is reasonably calculated to cause its Website to become

and remain accessible, Plaintiff invokes 42 U.S.C. § 12188(a)(2) and seeks a permanent injunction

requiring Defendant to retain a qualified consultant acceptable to Plaintiff (“Agreed Upon

Consultant”) to assist Defendant to comply with WCAG 2.0 guidelines for Defendant’s Website.

Plaintiff seeks that their permanent injunction requires Defendant to cooperate with the Agreed

Upon Consultant to:

               a.     Train Defendant’s employees and agents who develop the Website on

accessibility compliance under the WCAG 2.0 guidelines;

               b.     Regularly check the accessibility of the Website under the WCAG 2.0

guidelines;

               c.     Regularly test user accessibility by blind or vision-impaired persons to

ensure that Defendant’s Website complies under the WCAG 2.0 guidelines; and,

               d.     Develop an accessibility policy that is clearly disclosed on Defendant’s

Website, with contact information for users to report accessibility-related problems.

       34.     If the Website was accessible, Plaintiff and similarly situated blind and visually-

impaired people could independently view artwork, locate Defendant’s art gallery’ locations and

hours of operation, shop for and otherwise research related products and services via the Website.

       35.     Although Defendant may currently have centralized policies regarding maintaining

and operating its Website, Defendant lacks a plan and policy reasonably calculated to make them

fully and equally accessible to, and independently usable by, blind and other visually-impaired

consumers.




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       36.     Defendant has, upon information and belief, invested substantial sums in

developing and maintaining its Website and has generated significant revenue from the Website.

These amounts are far greater than the associated cost of making its Website equally accessible to

visually impaired customers.

       37.     Without injunctive relief, Plaintiff and other visually-impaired consumers will

continue to be unable to independently use the Website, violating their rights.

                             CLASS ACTION ALLEGATIONS

       38.     Plaintiff, on behalf of himself and all others similarly situated, seeks to certify a

nationwide class under Fed. R. Civ. P. 23(a) and 23(b)(2): all legally blind individuals in the United

States who have attempted to access Defendant’s Website and as a result have been denied access

to the equal enjoyment of goods and services offered in Defendant’s physical location, during the

relevant statutory period.

       39.     Plaintiff, on behalf of himself and all others similarly situated, seeks to certify a

New York State subclass under Fed. R. Civ. P. 23(a) and 23(b)(2): all legally blind individuals in

the State of New York who have attempted to access Defendant’s Website and as a result have

been denied access to the equal enjoyment of goods and services offered in Defendant’s physical

location, during the relevant statutory period.

       40.     Plaintiff, on behalf of himself and all others similarly situated, seeks to certify a

New York City subclass under Fed. R. Civ. P. 23(a) and 23(b)(2): all legally blind individuals in

the City of New York who have attempted to access Defendant’s Website and as a result have been

denied access to the equal enjoyment of goods and services offered in Defendant’s physical

location, during the relevant statutory period.

       41.     Common questions of law and fact exist amongst Class, including:




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               a.      Whether Defendant’s Website is a “public accommodation” under the

ADA;

               b.      Whether Defendant’s Website is a “place or provider of public

accommodation” under the NYSHRL or NYCHRL;

               c.      Whether Defendant’s Website denies the full and equal enjoyment of its

goods, services, facilities, privileges, advantages, or accommodations to people with visual

disabilities, violating the ADA; and

               d.      Whether Defendant’s Website denies the full and equal enjoyment of its

goods, services, facilities, privileges, advantages, or accommodations to people with visual

disabilities, violating the NYSHRL or NYCHRL.

       42.     Plaintiff’s claims are typical of the Class. The Class, similarly to the Plaintiff, are

severely visually impaired or otherwise blind, and claim that Defendant has violated the ADA,

NYSHRL or NYCHRL by failing to update or remove access barriers on its Website so either can

be independently accessible to the Class.

       43.     Plaintiff will fairly and adequately represent and protect the interests of the Class

Members because Plaintiff has retained and is represented by counsel competent and experienced

in complex class action litigation, and because Plaintiff has no interests antagonistic to the Class

Members. Class certification of the claims is appropriate under Fed. R. Civ. P. 23(b)(2) because

Defendant has acted or refused to act on grounds generally applicable to the Class, making

appropriate both declaratory and injunctive relief with respect to Plaintiff and the Class as a whole.

       44.     Alternatively, class certification is appropriate under Fed. R. Civ. P. 23(b)(3)

because fact and legal questions common to Class Members predominate over questions affecting




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only individual Class Members, and because a class action is superior to other available methods

for the fair and efficient adjudication of their litigation.

        45.     Judicial economy will be served by maintaining their lawsuit as a class action in

that it is likely to avoid the burden that would be otherwise placed upon the judicial system by the

filing of numerous similar suits by people with visual disabilities throughout the United States.

                         FIRST CAUSE OF ACTION
                VIOLATIONS OF THE ADA, 42 U.S.C. § 12181 et seq.

        46.      Plaintiff, on behalf of himself and the Class Members, repeats and realleges every

allegation of the preceding paragraphs as if fully set forth herein.

        47.     Section 302(a) of Title III of the ADA, 42 U.S.C. § 12101 et seq., provides:

        No individual shall be discriminated against on the basis of disability in the full and equal

        enjoyment of the goods, services, facilities, privileges, advantages, or accommodations of

        any place of public accommodation by any person who owns, leases (or leases to), or

        operates a place of public accommodation.

42 U.S.C. § 12182(a).

        48.     Defendant’s art gallery is a place of public accommodation within the definition of

Title III of the ADA, 42 U.S.C. § 12181(7). Defendant’s Website is a service, privilege, or

advantage of Defendant’s art gallery. The Website is a service that is integrated with these

locations.

        49.     Under Section 302(b)(1) of Title III of the ADA, it is unlawful discrimination to

deny individuals with disabilities the opportunity to participate in or benefit from the goods,

services, facilities, privileges, advantages, or accommodations of an entity. 42 U.S.C. §

12182(b)(1)(A)(i).




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       50.     Under Section 302(b)(1) of Title III of the ADA, it is unlawful discrimination to

deny individuals with disabilities an opportunity to participate in or benefit from the goods,

services, facilities, privileges, advantages, or accommodation, which is equal to the opportunities

afforded to other individuals. 42 U.S.C. § 12182(b)(1)(A)(ii).

       51.     Under Section 302(b)(2) of Title III of the ADA, unlawful discrimination also

includes, among other things:

       [A] failure to make reasonable modifications in policies, practices, or procedures, when

       such modifications are necessary to afford such goods, services, facilities, privileges,

       advantages, or accommodations to individuals with disabilities, unless the entity can

       demonstrate that making such modifications would fundamentally alter the nature of such

       goods, services, facilities, privileges, advantages or accommodations; and a failure to take

       such steps as may be necessary to ensure that no individual with a disability is excluded,

       denied services, segregated or otherwise treated differently than other individuals because

       of the absence of auxiliary aids and services, unless the entity can demonstrate that taking

       such steps would fundamentally alter the nature of the good, service, facility, privilege,

       advantage, or accommodation being offered or would result in an undue burden.

42 U.S.C. § 12182(b)(2)(A)(ii)-(iii).

       52.     The acts alleged herein constitute violations of Title III of the ADA, and the

regulations promulgated thereunder. Plaintiff, who is a member of a protected class of persons

under the ADA, has a physical disability that substantially limits the major life activity of sight

within the meaning of 42 U.S.C. §§ 12102(1)(A)-(2)(A). Furthermore, Plaintiff has been denied

full and equal access to the Website, has not been provided services that are provided to other

patrons who are not disabled, and has been provided services that are inferior to the services




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provided to non-disabled persons. Defendant has failed to take any prompt and equitable steps to

remedy its discriminatory conduct. These violations are ongoing.

          53.   Under 42 U.S.C. § 12188 and the remedies, procedures, and rights set forth and

incorporated therein, Plaintiff, requests relief as set forth below.

                             SECOND CAUSE OF ACTION
                            VIOLATIONS OF THE NYSHRL

          54.   Plaintiff, on behalf of himself and the New York State Sub-Class Members, repeats

and realleges every allegation of the preceding paragraphs as if fully set forth herein.

          55.   N.Y. Exec. Law § 296(2)(a) provides that it is “an unlawful discriminatory practice

for any person, being the owner, lessee, proprietor, manager, superintendent, agent or employee

of any place of public accommodation . . . because of the . . . disability of any person, directly or

indirectly, to refuse, withhold from or deny to such person any of the accommodations, advantages,

facilities or privileges thereof.”

          56.   Defendant’s physical location is located in the State of New York and constitute a

sales establishment and place of public accommodation within the definition of N.Y. Exec. Law §

292(9). Defendant’s Website is a service, privilege or advantage of Defendant. Defendant’s

Website is a service that is by and integrated with this physical location.

          57.   Defendant is subject to New York Human Rights Law because it owns and operates

its physical location and Website. Defendant is a person within the meaning of N.Y. Exec. Law §

292(1).

          58.   Defendant is violating N.Y. Exec. Law § 296(2)(a) in refusing to update or remove

access barriers to its Website, causing its Website and the services integrated with Defendant’s

physical location to be completely inaccessible to the blind. Their inaccessibility denies blind




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patrons full and equal access to the facilities, goods and services that Defendant makes available

to the non-disabled public.

       59.     Under N.Y. Exec. Law § 296(2)(c)(i), unlawful discriminatory practice includes,

among other things, “a refusal to make reasonable modifications in policies, practices, or

procedures, when such modifications are necessary to afford facilities, privileges, advantages or

accommodations to individuals with disabilities, unless such person can demonstrate that making

such modifications would fundamentally alter the nature of such facilities, privileges, advantages

or accommodations being offered or would result in an undue burden".

       60.     Under N.Y. Exec. Law § 296(2)(c)(ii), unlawful discriminatory practice also

includes, “a refusal to take such steps as may be necessary to ensure that no individual with a

disability is excluded or denied services because of the absence of auxiliary aids and services,

unless such person can demonstrate that taking such steps would fundamentally alter the nature of

the facility, privilege, advantage or accommodation being offered or would result in an undue

burden.”

       61.     Readily available, well-established guidelines exist on the Internet for making

websites accessible to the blind and visually impaired. These guidelines have been followed by

other large business entities and government agencies in making their website accessible, including

but not limited to: adding alt-text to graphics and ensuring that all functions can be performed

using a keyboard. Incorporating the basic components to make its Website accessible would

neither fundamentally alter the nature of Defendant’s business nor result in an undue burden to

Defendant.




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       62.     Defendant’s actions constitute willful intentional discrimination against the class

on the basis of a disability in violation of the NYSHRL, N.Y. Exec. Law § 296(2) in that Defendant

has:

               a.      constructed and maintained a website that is inaccessible to blind class

members with knowledge of the discrimination; and/or

               b.      constructed and maintained a website that is not sufficiently intuitive and/or

obvious and that is inaccessible to blind class members; and/or

               c.      failed to take actions to correct these access barriers in the face of substantial

harm and discrimination to blind class members.

       63.     Defendant has failed to take any prompt and equitable steps to remedy their

discriminatory conduct. These violations are ongoing.

       64.     Defendant discriminates and will continue in the future to discriminate against

Plaintiff and New York State Sub-Class Members on the basis of disability in the full and equal

enjoyment of the goods, services, facilities, privileges, advantages, accommodations and/or

opportunities of Defendant’s Website and its physical locations under § 296(2) et seq. and/or its

implementing regulations. Unless the Court enjoins Defendant from continuing to engage in these

unlawful practices, Plaintiff and the Sub-Class Members will continue to suffer irreparable harm.

       65.     Defendant’s actions were and are in violation of New York State Human Rights

Law and therefore Plaintiff invokes his right to injunctive relief to remedy the discrimination.

       66.     Plaintiff is also entitled to compensatory damages, as well as civil penalties and

fines under N.Y. Exec. Law § 297(4)(c) et seq. for each and every offense.

       67.     Plaintiff is also entitled to reasonable attorneys’ fees and costs.




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        68.     Under N.Y. Exec. Law § 297 and the remedies, procedures, and rights set forth and

incorporated therein Plaintiff prays for judgment as set forth below.

                              THIRD CAUSE OF ACTION
                            VIOLATIONS OF THE NYCHRL

        69.     Plaintiff, on behalf of himself and the New York City Sub-Class Members, repeats

and realleges every allegation of the preceding paragraphs as if fully set forth herein.

        70.     N.Y.C. Administrative Code § 8-107(4)(a) provides that “It shall be an unlawful

discriminatory practice for any person, being the owner, lessee, proprietor, manager,

superintendent, agent or employee of any place or provider of public accommodation, because of

. . . disability . . . directly or indirectly, to refuse, withhold from or deny to such person, any of the

accommodations, advantages, facilities or privileges thereof.”

        71.     Defendant’s location is a sales establishment and place of public accommodation

within the definition of N.Y.C. Admin. Code § 8-102(9), and its Website is a service that is

integrated with its establishment.

        72.     Defendant is subject to NYCHRL because it owns and operates its physical location

in the City of New York and its Website, making it a person within the meaning of N.Y.C. Admin.

Code § 8-102(1).

        73.     Defendant is violating N.Y.C. Administrative Code § 8-107(4)(a) in refusing to

update or remove access barriers to Website, causing its Website and the services integrated with

its physical location to be completely inaccessible to the blind. The inaccessibility denies blind

patrons full and equal access to the facilities, goods, and services that Defendant makes available

to the non-disabled public.

        74.     Defendant is required to “make reasonable accommodation to the needs of persons

with disabilities . . . any person prohibited by the provisions of [§ 8-107 et seq.] from



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discriminating on the basis of disability shall make reasonable accommodation to enable a person

with a disability to . . . enjoy the right or rights in question provided that the disability is known or

should have been known by the covered entity.” N.Y.C. Admin. Code § 8-107(15)(a).

        75.     Defendant’s actions constitute willful intentional discrimination against the Sub-

Class on the basis of a disability in violation of the N.Y.C. Administrative Code § 8-107(4)(a) and

§ 8-107(15)(a) in that Defendant has:

                a.      constructed and maintained a website that is inaccessible to blind class

members with knowledge of the discrimination; and/or

                b.      constructed and maintained a website that is not sufficiently intuitive and/or

obvious and that is inaccessible to blind class members; and/or

                c.      failed to take actions to correct these access barriers in the face of substantial

harm and discrimination to blind class members.

        76.     Defendant has failed to take any prompt and equitable steps to remedy their

discriminatory conduct. These violations are ongoing.

        77.     As such, Defendant discriminates, and will continue in the future to discriminate

against Plaintiff and members of the proposed class and subclass on the basis of disability in the

full and equal enjoyment of the goods, services, facilities, privileges, advantages, accommodations

and/or opportunities of its Website and its establishments under § 8-107(4)(a) and/or its

implementing regulations. Unless the Court enjoins Defendant from continuing to engage in these

unlawful practices, Plaintiff and members of the class will continue to suffer irreparable harm.

        78.     Defendant’s actions were and are in violation of the NYCHRL and therefore

Plaintiff invokes his right to injunctive relief to remedy the discrimination.




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         79.    Plaintiff is also entitled to compensatory damages, as well as civil penalties and

fines under N.Y.C. Administrative Code § 8-120(8) and § 8-126(a) for each offense as well as

punitive damages pursuant to § 8-502.

         80.    Plaintiff is also entitled to reasonable attorneys’ fees and costs.

         81.    Under N.Y.C. Administrative Code § 8-120 and § 8-126 and the remedies,

procedures, and rights set forth and incorporated therein Plaintiff prays for judgment as set forth

below.

                             FOURTH CAUSE OF ACTION
                               DECLARATORY RELIEF

         82.    Plaintiff, on behalf of himself and the Class and New York State and City Sub-

Classes Members, repeats and realleges every allegation of the preceding paragraphs as if fully set

forth herein.

         83.    An actual controversy has arisen and now exists between the parties in that Plaintiff

contends, and is informed and believes that Defendant denies, that its Website contains access

barriers denying blind customers the full and equal access to the goods, services and facilities of

its Website and by extension its physical location, which Defendant owns, operate and controls,

fails to comply with applicable laws including, but not limited to, Title III of the Americans with

Disabilities Act, 42 U.S.C. §§ 12182, et seq., N.Y. Exec. Law § 296, et seq., and N.Y.C. Admin.

Code § 8-107, et seq. prohibiting discrimination against the blind.

         84.    A judicial declaration is necessary and appropriate at this time in order that each of

the parties may know their respective rights and duties and act accordingly.

                                     PRAYER FOR RELIEF

         WHEREFORE, Plaintiff respectfully requests the Court grant the following relief:




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               a.      A preliminary and permanent injunction to prohibit Defendant from

violating the Americans with Disabilities Act, 42 U.S.C. §§ 12182, et seq., N.Y. Exec. Law § 296,

et seq., N.Y.C. Administrative Code § 8-107, et seq., and the laws of New York;

               b.      A preliminary and permanent injunction requiring Defendant to take all the

steps necessary to make its Website into full compliance with the requirements set forth in the

ADA, and its implementing regulations, so that the Website is readily accessible to and usable by

blind individuals;

               c.      A declaration that Defendant owns, maintains and/or operates its Website

in a manner that discriminates against the blind and which fails to provide access for persons with

disabilities as required by Americans with Disabilities Act, 42 U.S.C. §§ 12182, et seq., N.Y. Exec.

Law § 296, et seq., N.Y.C. Administrative Code § 8-107, et seq., and the laws of New York

               d.      An order certifying the Class and Sub-Classes under Fed. R. Civ. P. 23(a)

& (b)(2) and/or (b)(3), appointing Plaintiff as Class Representative, and his attorneys as Class

Counsel;

               e.      Compensatory damages in an amount to be determined by proof, including

all applicable statutory and punitive damages and fines, to Plaintiff and the proposed class and

subclasses for violations of their civil rights under New York State Human Rights Law and City

Law;

               f.      Pre- and post-judgment interest;

               g.      An award of costs and expenses of the action together with reasonable

attorneys’ and expert fees; and

               h.      Such other and further relief as this Court deems just and proper.




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                              DEMAND FOR TRIAL BY JURY

       Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury on all questions of fact

the Complaint raises.

                                                  LAW OFFICE OF JUSTIN A. ZELLER, P.C.

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